     Case 2:20-cv-07853-DMG-AFM Document 61 Filed 09/28/21 Page 1 of 1 Page ID #:720



 1

 2
                                                                             JS-6
 3

 4

 5

 6

 7

 8                                  UNITED STATES DISTRICT COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA
10

11

12     RAMON MCNEAL, an individual,                  Case No.: CV 20-7853-DMG (AFMx)
13                    Plaintiff,
                                                     ORDER FOR DISMISSALOF ACTION
14         v.                                        WITH PREJUDICE [60]
15     WILSHIRE RE VENTURE LLC, a
       California Liability Company; and
16     DOES 1-10,
17                    Defendants.
18

19

20
                Pursuant to Fed. R. Civ. P. 41(a) and the parties’ stipulation [Doc. # 60], and good
21
       cause appearing,
22
                IT IS HEREBY ORDERED that Plaintiff Ramon McNeal’s action against
23
       Defendant Wilshire re Venture LLC is dismissed with prejudice. Each party shall bear its
24
       own fees and costs. All scheduled dates and deadlines are VACATED.
25

26
       DATED: September 28, 2021                                        _____
27                                              DOLLY M. GEE
                                                UNITED STATES DISTRICT JUDGE
28

                                                      1
